                     United States District Court
                               EASTERN DISTRICT OF WISCONSIN

                                           COURT MINUTES

HON. William E. Duffin, presiding.                                         Deputy Clerk: Mary Murawski
DATE: August 24, 2018 at 9:00 A.M.                                         Court Reporter: FTR Gold
CASE NO. 18-CR-145                                                         Time Called: 9:02:05
UNITED STATES v. Lisa Hofschulz, Robert Hofschulz                          Time Concluded: 9:07:36
PROCEEDING: Scheduling Conference (Counsel Only)


UNITED STATES by: Zachary Corey

DEFENDANT: not present
ATTORNEY: Brent D. Nistler for Lisa Hofschulz
          Jonathan C. Smith for Robert Hofschulz



       COURT recaps the events from the last hearing.

       GOVT:
       - Last 6 reports, 15-20 additional pages will be sent out later today.
       - Mr. Nistler requested recorded interviews of Ms. Hofschulz from a state license issue, which was
         separate from the criminal investigation. That was turned over this morning.
       - Recopy of previously medical records with their medical expert’s comments on it and an excel
         spreadsheet also produced today.

       NISTLER
       - Requesting 120 days to review discovery. Will go along with 60 day motion schedule.

       SMITH:
       - Will go along with any motion schedule the court sets.

       MOTIONS: October 24, 2018
       RESPONSE: November 7, 2018
       REPLY: November 14, 2018

         COURT is satisfied that this case is so unusual and so complex due to the nature of charges being
prosecuted that it is unreasonable to expect adequate preparation for pretrial processing, and the trial itself
within the time limits established by 18:3161. The ends of justice served by taking such action outweigh the
best interest of the public and the defendants in a speedy trial. Specifically, the court finds given the complexity
of this case, the nature of the prosecution and the case taken as a whole that the failure to grant a continuance
would unreasonably deny the defendants reasonable time necessary for effective preparation. Therefore, the
time from today’s date until October 24, 2018, is excluded under the Speedy Trial Act.

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